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The Honorable Leo T Sorokin
United States District Court

John Joseph Moakley Courthouse
1 Courthouse Way

Boston, MA. 02210

RE: Ross McLellan
Dear Honorable Leo T. Sorokin,

My name is Karen Morris and | have lived across the street from Ross and Lisa McLellan for 17 years. |
do not know where to begin to describe Ross as a person as he has so many amazing qualities that |
want to share with you but | know you have many letters to read. Ross is a caring, giving, hardworking,
and dedicated father and husband, and a friend that everyone would be fortunate to have in their life. |
hope this letter will help you know and understand who Ross is as a person and what he exemplifies to
his friends and family in just some of these examples.

Ross and Lisa were recently married when they moved into See and we had two young boys
(ages 4 and 7) at the time. | remember meeting Lisa and Ross for the first time as they came over right
away to thank us for welcoming them to the neighborhood after | had baked them brownies. |
remember thinking they are such a great young couple and very friendly. Our boys instantly loved Ross
as he would always talk sports with them which they loved. Ross always made himself available when
the boys would go over and ask him to play catch with them. They would wait for Ross to come home
from work and would go running over with glove and ball in hand. Ross never turned them away and
never made them feel he was too busy. For my oldest son’s 8" birthday, Ross went out and bought him
a Paul Pierce Celtics Jersey. My son wore it every day for months and months and at times he would
sleep in that jersey. It was the best birthday gift an 8-year-old boy received that year. We still have that
jersey today as it will always be a reminder of one of my son's favorite all time gifts.

We also have a 15 year old daughter that seems to spend more time at the McLellan house than
at home. Ross and Lisa have included in almost everything they do with their own kids and it has
been that way since she was a baby. Ross has taken _ fishing, to hockey and baseball games,
movies, golfing, swimming, and has always made her feel included. A few years back ioe. had a very
early championship hockey game and Ross came with his three boys to watch the game and ee was
so thrilled to see the McLellan family in the stands. That's all she talked about on the ride home.

Every winter Ross comes out and plows our elderly neighbor’s driveway and our driveway as well. When
| tell him | will be out to shovel he tells me he enjoys doing the plowing and to stay inside.

| have met so many of Ross’s friends over the years from his early years, high school, college , work and
various walks of life that it shows what type of a person he is and how many people love and care about
him. But | have to say Ross’s biggest fans are his kids. They adore him and he adores them. | watch Ross
with his four young children outside throwing the ball to them, playing soccer and hockey, and running
them everywhere they need to be with that wonderful smile on his face. He is one of the best dads |
know in our town as he is always hands on and there for his family all the time. He also is a terrific
husband to Lisa. | see him cleaning, grocery shopping, working outside while including the family to
participate. | love when | am spending time at their home and they are all calling for their dad’s
attention. He makes sure they all have his attention and never leaves anyone out. He is the true
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definition of one of the most devoted and kindest fathers | know. Ross is such a great friend to us that |
consider Ross and Lisa not just neighbors, but family. They mean everything to us and we feel we were
the lucky ones the day they moved onto

Sincerely,

Karen Morris
